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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

UNITED STATES OF AMERICA

vs.                                                  Case No. 20-mj-1518-AEP

MUHAMMED MOMTAZ AL-AZHARI /



                  ORDER OF DETENTION PENDING TRIAL

      Upon the government’s motion for detention pursuant to 18 U.S.C. § 3142(f)(2),

the court held a detention hearing and preliminary examination and concluded

detention is warranted. There is probable cause to believe Defendant has committed

the offense of attempting to provide material support or resources to a designated

foreign terrorist organization in violation of 18 U.S.C. § 2339B which carries a

maximum penalty of up to 20 years in prison upon conviction.

      Due to the nature of the charge, there is a statutory presumption that no

conditions of release, financial or otherwise, will reasonably insure Defendant’s

future appearance in court as required and the safety of the community. 18 U.S.C. §

3142(f)(1)(A); 18 U.S.C. § 3142(e)(3)(C).    Defendant has not produced sufficient

evidence to overcome the presumption against release. In addition to any findings

made at the hearing, the reasons for detention are set forth in this order.

      The lengthy Complaint amply demonstrates that Defendant, a 23-year old

American citizen, has recently acquired weapons and other equipment (military style

bullet-proof vest, laser pointer, GPS tracking device, camera drone, backpack with
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charging cable, and face mask as well as car fuel trap solvent filters which can be

used to make silencers) for the purpose of carrying out attacks on individuals in this

community in support of the foreign terrorist organization known as the Islamic State

of Iraq and al-Sham (“ISIS”). A week prior to the issuance of the Complaint,

Defendant had significant interactions with an FBI confidential source (“CHS”) which

resulted in Defendant purchasing from the CHS a Glock pistol and silencer, and an

extended and regular magazine for the pistol.            During their conversations,

Defendant expressed his hatred of the U.S., his support of ISIS, and his admiration

for Omar Mateen who carried out the 2018 Pulse nightclub shootings in Orlando.

Defendant tried to recruit CHS to become an ISIS spokesperson. He told CHS “I

want to join ISIS” and “I am ISIS” on different occasions.

      Law enforcement surveilled Defendant driving to various sites including the

Pulse nightclub site in Orlando, the FBI office in Tampa, and Honeymoon Island in

Pinellas County. According to the FBI Agent whose affidavit was filed in support of

the Complaint, Defendant’s visits to these sites, his acquisition of firearms and other

conduct (Complaint at 28-49), and his statements to others are consistent with an

extremist ideology which encourages carrying out “lone-wolf terrorist attacks against

individuals in the United States.”   (Complaint at 51)

      Further, Defendant was convicted and served a sentence in Saudi Arabia in

2015 for terrorism-related charges. Although he was born in California in 1997, the

Pretrial Services Report shows that Defendant lived with his family in Syria, Dubai,

and Saudi Arabia between 2001 and 2018.        He has resided in Tampa only since
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October 2019 when he relocated from California.

      Moreover, Defendant was arrested in Tampa on May 1, 2020 on state charges

of carrying a concealed weapon. His bond conditions prohibited him from possessing

or acquiring firearms.   A few weeks later, he purchased a pistol, silencer, and

ammunition clips from CHS.

      Due to the nature of the charge, the substantial evidence, Defendant’s conduct

and statements, his history and characteristics, and criminal record, the proffered

bond conditions of home detention, supervision by a family member, and other

conditions are inadequate to overcome the statutory presumption against release in

this case and to reasonably deter the risk of flight and danger to the community if

defendant is released. It is therefore,

      ORDERED:

      The defendant is committed to the custody of the Attorney General or his

designated representative for confinement in a corrections facility separate, to the

extent practicable, from persons awaiting or serving sentences or being held in

custody pending appeal. The defendant shall be afforded a reasonable opportunity

for private consultation with defense counsel. On order of a court of the United

States or on request of an attorney for the Government, the person in charge of the

corrections facility shall deliver the defendant to the United States Marshal for the

purpose of an appearance in connection with a court proceeding.
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   ORDERED in Tampa, Florida, on June 2, 2020
